        Case 18-30913               Doc 7          Filed 09/05/18 Entered 09/05/18 16:57:14                                 Desc Ch 11 First
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 Information to identify the case:
 Debtor 1              Christopher David Polk                                                    Social Security number or ITIN           xxx−xx−4675
                       First Name   Middle Name    Last Name                                     EIN _ _−_ _ _ _ _ _ _
 Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
                       First Name   Middle Name    Last Name
 (Spouse, if filing)
                                                                                                 EIN    _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court               Middle District of Georgia
                                                                                                 Date case filed for chapter 11 8/30/18
 Case number:          18−30913 JPS

Official Form 309E (For Individuals or Joint Debtors)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/15

For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a discharge of any debts or
who want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines
specified in this notice. (See line 10 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

                                               About Debtor 1:                                              About Debtor 2:
 1. Debtor's full name                         Christopher David Polk

 2. All other names used in the aka Chris Polk
    last 8 years

 3. Address                                    1651 Lighthouse Circle
                                               Greensboro, GA 30642

                                               Wesley J. Boyer
                                               Boyer Terry LLC
 4. Debtor's attorney                          348 Cotton Avenue                                          Contact phone 478−742−6481
      Name and address
                                               Ste 200
                                               Macon, GA 31201

 5. Bankruptcy clerk's office                                                                             Hours open: Monday − Friday 8:30 AM − 5:00
      Documents in this case may be filed                                                                 PM
                                               433 Cherry Street
      at this address.                         P.O. Box 1957
      You may inspect all records filed in                                                                Contact phone (478) 752−3506
                                               Macon, GA 31202
      this case at this office or online at
      www.pacer.gov.                                                                                      Date: 9/5/18

                                                                                                           For more information, see page 2 >




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Debtor Christopher David Polk                                                                                                    Case number 18−30913 JPS

 6. Meeting of creditors
     Debtors must attend the meeting to      October 17, 2018 at 11:00 AM
     be questioned under oath. In a joint                                                                      Location:
                                             The meeting may be continued or adjourned to a later
                                                                                                               The Classic Center, 300 North
     case, both spouses must attend.                                                                           Thomas Street, Athens, GA 30601
     Creditors may attend, but are not       date. If so, the date will be on the court docket.
     required to do so.

 7. Deadlines                        File by the deadline to object to discharge or to challenge                           First date set for hearing on
     The bankruptcy clerk's office   whether certain debts are dischargeable:                                              confirmation of plan. The court will
     must receive these                                                                                                    send you a notice of that date later.
     documents and any required
     filing fee by the following     You must file a complaint:                                                            Filing deadline for
     deadlines.                                                                                                            dischargeability complaints:
                                             •   if you assert that the debtor is not entitled to receive a discharge
                                                 of any debts under 11 U.S.C. § 1141(d)(3) or                              12/17/18
                                             •   if you want to have a debt excepted from discharge under 11
                                                 U.S.C. § 523(a)(2), (4), or (6).


                                     Deadline for filing proof of claim:                                                   1/15/19
                                     A proof of claim is a signed statement describing a creditor's claim. A proof
                                     of claim form may be obtained at www.uscourts.gov or any bankruptcy
                                     clerk's office.

                                     Your claim will be allowed in the amount scheduled unless:

                                             • your claim is designated as disputed, contingent, or unliquidated;
                                             • you file a proof of claim in a different amount; or
                                             • you receive another notice.
                                     If your claim is not scheduled or if your claim is designated as disputed,
                                     contingent, or unliquidated, you must file a proof of claim or you might not be
                                     paid on your claim and you might be unable to vote on a plan. You may file a
                                     proof of claim even if your claim is scheduled.

                                     You may review the schedules at the bankruptcy clerk's office or online at
                                     www.pacer.gov.

                                     Secured creditors retain rights in their collateral regardless of whether they
                                     file a proof of claim. Filing a proof of claim submits a creditor to the
                                     jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                     For example, a secured creditor who files a proof of claim may surrender
                                     important nonmonetary rights, including the right to a jury trial.


                                     Deadline to object to exemptions:                                                     Filing Deadline:
                                     The law permits debtors to keep certain property as exempt. If you believe            30 days after the conclusion of the
                                     that the law does not authorize an exemption claimed, you may file an                 meeting of creditors
                                     objection.

                                             If you are a creditor receiving mailed notice at a foreign address, you may file a motion asking the court to
 8. Creditors
    address
              with a foreign                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.

                                             Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                             court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
 9. Filing a Chapter 11
    bankruptcy case
                                             and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                             hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee
                                             is serving, the debtor will remain in possession of the property and may continue to operate the debtor's
                                             business.

                                             Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt.
                                             See 11 U.S.C. § 1141(d). However, unless the court orders otherwise, the debts will not be discharged until
                                             all payments under the plan are made. A discharge means that creditors may never try to collect the debt
                                             from the debtors personally except as provided in the plan. If you believe that a particular debt owed to you
 10. Discharge of debts                      should be excepted from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint
                                             and pay the filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not
                                             entitled to a discharge of any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay
                                             the filing fee in the clerk's office by the first date set for the hearing on confirmation of the plan. The court will
                                             send you another notice telling you of that date.

                                             The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                             distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed
 11. Exempt property                         as exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you
                                             believe that the law does not authorize an exemption that the debtors claim, you may file an objection. The
                                             bankruptcy clerk's office must receive the objection by the deadline to object to exemptions in line 7.



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